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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE


 ERIC SABATINI, Individually and On              )
 Behalf of All Others Similarly Situated,        )
                                                 )
                         Plaintiff,              )   Case No. 1:20-cv-01281-LPS
                                                 )
           v.                                    )
                                                 )
 AKCEA THERAPEUTICS, INC., B.                    )
 LYNNE PARSHALL, ELAINE                          )
 HOCHBERG, JOSEPH KLEIN, III,                    )
 DAMIEN MCDEVITT, AMBER                          )
 SALZMAN, SANDFORD D. SMITH,                     )
 MICHAEL J. YANG, BARBARA YANNI,                 )
 IONIS PHARMACEUTICALS, INC., and                )
 AVALANCHE MERGER SUB, INC.,                     )
                                                 )
                         Defendants.             )

                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”). Defendants have filed neither an

answer nor a motion for summary judgment in the Action, and no class has been certified in the

Action.

 Dated: October 7, 2020                              RIGRODSKY & LONG, P.A.

                                               By: /s/ Brian D. Long
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